                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


KATHRYN KNOWLTON, et al.,

               Plaintiffs,

       v.
                                                   Case No. 20-CV-1660
CITY OF WAUWATOSA, et al.,

               Defendants.


                             DISCOVERY PLAN AND ORDER


       In this multi-party litigation, the parties disagree on a plan to govern discovery in this

case. Therefore, I ordered each party to submit a proposed discovery plan. After considering

the parties’ proposals and conducting a hearing, I enter the following order to govern

discovery in the case.

       1. Number of Depositions

            The parties disagree on the appropriate number of depositions. Plaintiffs, who have

            already conducted 15 depositions, propose an additional 140 hours of depositions.

            Defendants propose 43 depositions and state that Plaintiffs are seeking at least an

            additional 62 depositions. Federal Rule of Civil Procedure 30(a)(2)(A)(i) sets a

            presumptive limit of 10 depositions per side. This presumption applies even in

            multi-party litigation. See Fed. R. Civ. P. 30 advisory committee’s note to 1993

            amendment. In this case, in light of the number of plaintiffs (69), the number of

            defendants (12, plus an undetermined number of John Doe defendants), the

            number of claims (16), the variety of both constitutional and statutory claims, and




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         the inherently individualized nature of some of the claims, I find that exceeding

         the presumptive limit of 10 depositions may be necessary. Accordingly, I will allow

         each side to conduct a maximum of 30 depositions, including the depositions of

         experts and depositions that have already been completed. Additionally:

         (a) The depositions must be relevant, not cumulative, and not for the purpose of

            harassment. Depositions that are not relevant, cumulative, and/or harassing

            should be brought to the court’s attention.

         (b) The parties are reminded that leave of the court is required to exceed the

            permitted number of depositions, and, given that the parties have already been

            allowed to exceed the presumptive number of depositions, I am disinclined to

            grant further leave to conduct additional depositions.

         (c) The parties are also reminded that leave of the court is required if the deponent

            has already been deposed. Fed. R. Civ. P. 30(a)(2)(ii). Here, too, given the

            number of depositions allowed in this case, I am also disinclined to grant such

            leave.

         (d) Finally, the depositions must comply with all the requirements of Rule 30.



    2.   Requests for Production

         Defendants request unlimited requests for production. Plaintiffs do not object.

         Neither Fed. R. Civ. P. 34 nor Civil L. R. 34 place limits on the number of requests

         for production. Accordingly, I will not limit the number of requests for production.

         However, I remind the parties of the directive that discovery should not be




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           unreasonably cumulative, duplicative, burdensome, or costly. Fed. R. Civ. P.

           26(b)(2)(C)(i).



       3. Requests for Admission

           Plaintiffs propose 35 requests for admission per side and Defendants propose 50

           per side. Consistent with Civil L. R. 36, I will permit a maximum of 50 written

           requests for admission. The parties are reminded that the 50 permissible requests

           for admission may not be expanded by the creative use of subparts. Civil L. R.

           36(a)(1).

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       4. Interrogatories

           Plaintiffs propose 15 interrogatories per side. Defendants propose 25 per side. Both

           Fed. R. Civ. P. 33 and Civil L. R. 33 authorize 25 interrogatories. I see no reason

           to reduce the number of interrogatories when the parties have sought to expand the

           number of presumptive depositions. To the contrary, I encourage the parties to use

           this and the other less costly discovery tools to winnow down the number of

           depositions. Further, as this has been an issue in this case, I remind the parties that

           Fed. R. Civ. P. 33(b)(5) requires that the person who answers the interrogatories

           also signs them.

                                            ORDER

       NOW, THEREFORE, IT IS HEREBY ORDERED that this discovery order shall

govern this litigation.

       Dated at Milwaukee, Wisconsin this 19th day of October, 2021.


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